 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 1 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 1



                                     No. __-____

                                        IN THE
     United States Court of Appeals for the Tenth Circuit
                                 ________________

 ALEJANDRO MENOCAL, MARCOS BRAMBILA, GRISEL XAHUENTITLA,
   HUGO HERNANDEZ, LOURDES ARGUETA, JESUS GAYTAN, OLGA
 ALEXAKLINA, DAGOBERTO VIZGUERRA, and DEMETRIO VALEGRA, on
       their own behalf and on behalf of all others similarly situated,
                                                     Plaintiffs,
                                           v.
                              THE GEO GROUP, INC.,
                                                Defendant-Petitioner.
                                ________________
    On Petition to Appeal from the U.S. District Court for the District of Colorado,
        Civil Action No. 1:14-cv-02887-JLK, Judge John L. Kane, Presiding
                                 ________________
                 THE GEO GROUP, INC.’S PETITION
          FOR PERMISSION TO APPEAL CLASS CERTIFICATION
                         ________________

 Dana Eismeier                              Mark Emery
 BURNS, FIGA & WILL                         NORTON ROSE FULBRIGHT US LLP
 6400 S. Fiddlers Green Circle              799 9th Street NW, Suite 1000
 Suite 1000                                 Washington, DC 20001
 Greenwood Village, Colorado 80111          (202) 662-0210
 (303) 796-2626                             mark.emery@nortonrosefulbright.com
 deismeier@bfwlaw.com
                                            Charles A. Deacon
                                            NORTON ROSE FULBRIGHT US LLP
                                            300 Convent Street
                                            San Antonio, Texas 78205
                                            (210) 270-7133
                                            charlie.deacon@nortonrosefulbright.com

 March 13, 2017                             Counsel for Defendant-Petitioner
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 2 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 2




                  CORPORATE DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Appellate Procedure 26.1, The GEO Group, Inc.

 states that it is a publicly-traded corporation (NYSE: GEO) that has no parent

 company, and that The Vanguard Group, Inc. and BlackRock Fund Advisors own

 more than 10% of GEO’s stock.


                                               /s/ Mark Emery
                                       Counsel for Defendant-Petitioner




                                          i
 Case No. 1:14-cv-02887-JLK-CYC             Document 58-1 filed 03/14/17 USDC Colorado
                                             pg 3 of 34
Appellate Case: 17-701           Document: 01019778492 Date Filed: 03/13/2017 Page: 3



                                        TABLE OF CONTENTS

                                                                                                                   Page

 CORPORATE DISCLOSURE STATEMENT ........................................................ i
 TABLE OF AUTHORITIES .................................................................................. iii
 INTRODUCTION AND QUESTIONS PRESENTED............................................1
 BACKGROUND ......................................................................................................4
                  A.       ICE Contracts With GEO To Provide Detention Facilities .......4
                  B.       The Requirement That Detainees Perform Housekeeping
                           Chores ........................................................................................5
                  C.       The $1.00 Daily Allowance Under The VWP ...........................6
                  D.       The Plaintiffs’ Claims And The District Court’s Rulings .........7
 STANDARD OF REVIEW ......................................................................................8
 WHY IMMEDIATE REVIEW IS APPROPRIATE ................................................8
         I.       The District Court Provided No “Rigorous Analysis” Of
                  Whether Plaintiffs’ Novel And Indeterminate Claims Pass Rule
                  23’s Strict Standards.............................................................................8
                  A.       The Trafficking Claim Is Unfit For Class Treatment ..............10
                  B.       The Unjust Enrichment Claim Is Unfit For Class
                           Treatment .................................................................................17
                  C.       There Is No Damages Model ...................................................21
         II.      GEO’s Status As A Federal Contractor Strongly Favors
                  Immediate Review..............................................................................22
 RELIEF REQUESTED ...........................................................................................23
 CERTIFICATE OF COMPLIANCE WITH WORD VOLUME
     LIMITATION
 CERTIFICATE OF DIGITAL SUBMISSION
  CERTIFICATE OF SERVICE




                                                           ii
 Case No. 1:14-cv-02887-JLK-CYC            Document 58-1 filed 03/14/17 USDC Colorado
                                            pg 4 of 34
Appellate Case: 17-701          Document: 01019778492 Date Filed: 03/13/2017 Page: 4



                                    TABLE OF AUTHORITIES

                                                                                                         Page(s)

 CASES:

    Alioto v. Hoiles,
       No. 04-CV-00438, 2010 WL 3777129 (D. Colo. Sept. 21, 2010) ................. 18

    Amchem Prods., Inc. v. Windsor,
      521 U.S. 591 (1997)........................................................................................ 16

    Bayh v. Sonnenburg,
      573 N.E.2d 398 (Ind. 1991) ............................................................................ 18

    Bijeol v. Nelson,
       579 F.2d 423 (7th Cir. 1978) .......................................................................... 12

    Britvar v. Schainuck,
       791 P.2d 1183 (Colo. App. 1989) ................................................................... 17

    In re Busetta-Silvia,
        314 B.R. 218 (B.A.P. 10th Cir. 2004) ............................................................ 11

    CGC Holding Co., LLC v. Broad & Cassel,
      773 F.3d 1076 (10th Cir. 2014) ..................................................................9, 17

    Channer v. Hall,
      112 F.3d 214 (5th Cir. 1997) .......................................................................... 12

    Comcast Corp. v. Behrend,
      133 S. Ct. 1426 (2013).................................................................................... 21

    David v. Signal Int’l, LLC,
      No. 08-cv-1220, 2012 WL 10759668 (E.D. La. Jan. 4, 2012) ....................... 14

    Downes v. Rivera,
      No. 15-705, 2015 WL 9022001 (10th Cir. Dec. 8, 2015) ................................ 8

    Friedman v. Dollar Thrifty Auto. Grp., Inc.,
       304 F.R.D. 601 (D. Colo. 2015) .................................................................9, 20

                                                        iii
 Case No. 1:14-cv-02887-JLK-CYC            Document 58-1 filed 03/14/17 USDC Colorado
                                            pg 5 of 34
Appellate Case: 17-701          Document: 01019778492 Date Filed: 03/13/2017 Page: 5




    Gene & Gene LLC v. BioPay LLC,
      541 F.3d 318 (5th Cir. 2008) ............................................................................ 9

    Goodyear Atomic Corp. v. Miller,
      486 U.S. 174 (1988)........................................................................................ 12

    Guevara v. INS,
      902 F.2d 394 (5th Cir. 1990) .......................................................................... 19

    Guevara v. INS,
      No. 90-1476, 1992 WL 1029 (Fed. Cir. Jan. 6, 1992) ................................... 19

    Hause v. Vaught,
      993 F.2d 1079 (4th Cir. 1993) ........................................................................ 12

    Holy Trinity Church v. United States,
      143 U.S. 457 (1892)........................................................................................ 11

    Lagasan v. Al-Ghasel,
      92 F. Supp. 3d 445 (E.D. Va. 2015) .............................................................. 21

    Lewis v. Lewis,
      189 P.3d 1134 (Colo. 2008)............................................................................ 17

    Mazengo v. Mzengi,
      No. 07–756, 2007 WL 8026882 (D.D.C. Dec. 20, 2007) .............................. 21

    Melat, Pressman & Higbie, L.L.P. v. Hannon Law Firm, L.L.C.,
      287 P.3d 842 (Colo. 2012)........................................................................17, 20

    Shook v. Bd. of Cty. Comm’rs,
       543 F.3d 597 (10th Cir. 2008) .......................................................................... 9

    Stanford v. Ronald H. Mayer Real Estate,
       849 P.2d 921 (Colo. App. 1993) ..................................................................... 18

    Tourscher v. McCullough,
      184 F.3d 236 (3rd Cir. 1999) .......................................................................... 12



                                                        iv
 Case No. 1:14-cv-02887-JLK-CYC              Document 58-1 filed 03/14/17 USDC Colorado
                                              pg 6 of 34
Appellate Case: 17-701            Document: 01019778492 Date Filed: 03/13/2017 Page: 6




    Trevizo v. Adams,
       455 F.3d 1155 (10th Cir. 2006) ........................................................................ 8

    United States v. Am. Trucking Ass’ns, Inc.,
      310 U.S. 534 (1940)........................................................................................ 10

    United States v. Black,
      773 F.3d 1113 (10th Cir. 2014) ...................................................................... 11

    United States v. Todd,
      627 F.3d 329 (9th Cir. 2010) .......................................................................... 11

    Vallario v. Vandehey,
       554 F.3d 1259 (10th Cir. 2009) ..........................................................2, 8, 9, 22

    Wal-Mart Stores, Inc. v. Dukes,
      564 U.S. 338 (2011).......................................................................................... 8

    Wallace B. Roderick Revocable Living Tr. v. XTO Energy, Inc.,
      725 F.3d 1213 (10th Cir. 2013) ............................................................9, 17, 20

    Whyte v. Suffolk Cty. Sheriff’s Dep’t,
      No. 15-00444-E (Sup. Ct. Mass. Jan. 8, 2016) ............................................... 19

    Yates v. United States,
       135 S. Ct. 1074 (2015)..............................................................................10, 11

 STATUTES:

    8 U.S.C. § 1103 ...................................................................................................... 4

    8 U.S.C. § 1225 ...................................................................................................... 4

    8 U.S.C. § 1226 ...................................................................................................... 4

    8 U.S.C. § 1226a .................................................................................................... 4

    8 U.S.C. § 1231 ...................................................................................................... 4

    8 U.S.C. § 1555(d) ............................................................................................... 18

                                                             v
 Case No. 1:14-cv-02887-JLK-CYC              Document 58-1 filed 03/14/17 USDC Colorado
                                              pg 7 of 34
Appellate Case: 17-701            Document: 01019778492 Date Filed: 03/13/2017 Page: 7




    18 U.S.C. § 1589 ..................................................................................2, 13, 15, 17

    18 U.S.C. § 1593 .................................................................................................... 2

    18 U.S.C. § 1595 .................................................................................................... 2

    22 U.S.C. § 7101 .................................................................................................. 11

    28 U.S.C. § 1292(e) ............................................................................................... 1

    Dep’t of Justice Appropriation Act, 1979,
      Pub. L. No. 95-431, 92 Stat. 1021 (1978) ...................................................... 18

 RULES:

    Fed. R. App. P. 5 .................................................................................................... 1

    Fed. R. Civ. P. 23(a) ....................................................................................3, 9, 13

    Fed. R. Civ. P. 23(b) ........................................................................................3, 16

    Fed. R. Civ. P. 23(f) .....................................................................................1, 8, 22

 OTHER SOURCES:

    Aurora Detention Center, Policies & Procedures .............................................. 6, 7

    BLACK’S LAW DICTIONARY (8th ed. 2004). ......................................................... 11

    ICE Aurora Facility Detainee Handbook .......................................................... 5, 6

    ICE Nat’l Detainee Handbook ............................................................................... 5

    U.S. Dep’t of Justice, Immigration & Naturalization Serv., Opinion
       Letter (Nov. 13, 1992) 1992 WL 1369402 ..................................................... 18

    U.S. Dep’t of Justice, Immigration & Naturalization Serv., Opinion
       Letter (Feb. 26, 1992) 1992 WL 1369347 ...................................................... 19

    Performance-Based Nat’l Detention Standards 2011 ........................................ 5, 6


                                                            vi
 Case No. 1:14-cv-02887-JLK-CYC      Document 58-1 filed 03/14/17 USDC Colorado
                                      pg 8 of 34
Appellate Case: 17-701    Document: 01019778492 Date Filed: 03/13/2017 Page: 8



               INTRODUCTION AND QUESTIONS PRESENTED

        The district court’s class certification presents legally unsettled issues of

 national importance and manifest errors that warrant immediate review. Order

 Granting Motion for Class Certification, Docket Number (“Dkt.”) 57 (“Order”)

 (Attachment A); Fed. R. Civ. P. 23(f); 28 U.S.C. § 1292(e); Fed. R. App. P. 5.

 This case asks the Court to decide whether the district court properly certified

 classes authorizing an alleged 60,000 immigration detainees to seek monetary

 relief based on two novel theories:

        (1) Does a contractor operating a detention facility for the federal

 government compel “forced labor” in violation of a federal human trafficking

 statute by requiring detainees to periodically perform housekeeping chores, when

 that contractor and its housekeeping policies are subject to extensive federal

 contractual and regulatory requirements as well as direct federal supervision, and

 the housekeeping policy is both longstanding and judicially-accepted?

        (2) Is the contractor “unjustly enriched,” and required to pay restitution to

 detainees for the detainees’ participation in a federally-created, sponsored and

 supervised voluntary work program, when the settled expectation for decades has

 been that participants are provided a daily allowance of $1?

        Defendant-Petitioner The GEO Group, Inc. (“GEO”) operates immigration

 detention facilities under contracts with the Department of Homeland Security


                                            1
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 9 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 9



 (“DHS”) and Immigration and Customs Enforcement (“ICE”), subject to extensive

 contractual, regulatory and statutory requirements. Since 1986, GEO has operated

 Colorado’s Aurora Detention Center (the “Facility”), where this dispute arises.

        Plaintiffs are current and former immigration detainees at the Facility. They

 have obtained certified classes on two theories: (1) the “Trafficking Claim,”

 alleging that they are entitled to damages and restitution under the Trafficking

 Victims Protection Act (“TVPA” or “Trafficking Act”), 18 U.S.C. §§ 1589, 1593,

 1595, which GEO has allegedly violated by requiring detainees to perform

 housekeeping chores under an ICE-approved and -supervised policy (“Sanitation

 Policy”); and (2) the “Unjust Enrichment Claim,” alleging that GEO has been

 unjustly enriched, under Colorado law, by work ICE detainees performed under the

 federally-sanctioned Voluntary Work Program (“VWP”) for the $1 daily allowance

 paid by GEO, authorized by Congress, and reimbursed by ICE.

        As the district court recognized, these claims are unprecedented. Order 2,

 20. Other than the court below, no court in the U.S. has recognized either of the

 claims, much less certified classes of up to 60,000 members. Nonetheless, the

 court denied GEO’s motion for interlocutory appeal of the merits, thereby

 shielding the merits from this Court’s review. Such unprecedented claims deserve

 extra vigilance to ensure that class certification based on them follows “rigorous

 analysis.” Vallario v. Vandehey, 554 F.3d 1259, 1267 (10th Cir. 2009).

                                           2
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 10 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 10



        The district court’s class analysis did not meet this standard. Instead of

  demanding evidence required by Federal Rules of Civil Procedure 23(a) and

  23(b)(3), the district court found commonality, typicality, predominance, and

  superiority based solely on presumptions and inferences. The TVPA aims to

  punish human traffickers, not to award damages to immigration detainees against

  an ICE contractor implementing federal sanitation policies. Even if the TVPA

  applied, it would necessarily require individualized, subjective determinations of

  what—if any—action by GEO caused a particular detainee to labor.

        Unjust enrichment claims under Colorado law turn on the “reasonable

  expectations” of the parties, making them notoriously unfit for classwide

  resolution. The district court failed to require any evidence that a single

  detainee—much less a class—reasonably expected to receive more than the $1

  daily VWP allowance. This allowance was ratified by Congress decades ago,

  upheld by courts, and adopted in ICE’s contractual reimbursement rate to GEO at

  the Facility. Detainees are not employees. Any reasonable expectation of more

  than the established allowance must therefore be predicated on specific reasons

  explaining why a particular detainee expected special treatment.

        Finally, the district court certified a class on unprecedented claims without

  requiring any evidence regarding Plaintiffs’ model for damages—a clear example

  of extending every presumption and inference in Plaintiffs’ favor.

                                            3
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 11 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 11



        Claims like these could be filed against ICE’s contracting partners across the

  U.S., creating potentially immense costs. GEO remains subject to ongoing

  contractual and regulatory strictures requiring it to carry out the very conduct for

  which it would be tried. Its obligations to the federal government mean that any

  change to its programs on account of the Plaintiffs’ claims could land it in trouble

  with the government. Plaintiffs and their counsel dislike ICE’s policies, but

  instead of taking those grievances to Congress or petitioning for changes in agency

  policy, they are pursuing a class action lawsuit for monetary relief that puts GEO

  in an acutely problematic and intolerable position of carrying out federal

  government directives while facing potentially massive financial harm for doing

  so. Before similar Trafficking Act and unjust enrichment claims become the next

  class action cottage industry, this Court should grant permission for GEO to appeal

  the district court’s unprecedented order.

                                   BACKGROUND

        A.     ICE Contracts With GEO To Provide Detention Facilities.

        The Immigration and Nationality Act (“INA”) authorizes DHS/ICE to detain

  aliens awaiting removals or hearings and mandates that ICE detain certain classes

  of immigrants. See 8 U.S.C. §§ 1225, 1226, 1226a, 1231. DHS/ICE may contract

  with private entities, such as GEO, to provide secure facilities for confinement. Id.

  §§ 1231(g), 1103(a), (c).


                                              4
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 12 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 12



        B.     The Requirement That Detainees Perform Housekeeping Chores.

        ICE requires that detention facilities “maintain the highest sanitation

  standards at all times in all locations without exception.” ICE Aurora Facility

  Detainee Handbook (“Aurora Handbook”), Dkt. 51-1, at PL46; see Performance-

  Based Nat’l Detention Standards 2011 (“PBNDS”), Dkt. 51-2, § 1.2; ICE Nat’l

  Detainee Handbook (“Nat. Handbook”), Dkt. 51-3, at PL92. Sanitation at

  detention facilities is “an organized, supervised and continuous program of daily

  cleaning by all detainees[.]” Aurora Handbook, at PL46. GEO implements these

  requirements through an ICE-approved program.

        Detainees are required to keep their “personal living area[s] clean and

  sanitary.” Id.; see PBNDS § 5.8(V). Additionally, the “[h]ousing units and all

  common areas must be kept clean and should be ready for inspection at any time.”

  Aurora Handbook, at PL46. Each day, staff prepare and post a list of detainees

  designated to perform these duties. Id. at PL47. ICE requires all detainees to

  participate in this sanitation program. Id.; PBNDS § 5.8(V).

        Under ICE policy, refusing to clean an assigned living area usually results in

  the typical sanctions of a warning or reprimand. PBNDS, App’x 3.1.A, § III. A

  permissible, but rare, step is to place a detainee in disciplinary segregation. Ceja

  Dep., Dkt. 50-1, 88:24-90:3. In such rare cases, the detainee is administratively

  segregated while awaiting a hearing. During this segregation, detainees may still


                                            5
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 13 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 13



  watch television and participate in two hours of daily social time. Id. at 54:4-

  54:12, 55:15-55:19. GEO’s corporate representative could recall only one detainee

  complaint related to segregation for a cleaning issue. Id. at 69:5-69:22, 71:12-

  71:18. None of the parties who submitted declarations in support of class

  certification claim to have been placed in segregation for refusing to clean.

        C.     The $1.00 Daily Allowance Under The VWP.

        Some Facility detainees volunteer to perform painting, food, laundry,

  barbershop, and sanitation services through the ICE-authorized VWP. Aurora

  Handbook, at PL36; Aurora Detention Center, Policies & Procedures (“P&P”),

  Dkt. 50-4, § 8.1.8(A). GEO administers the VWP at the Facility under ICE’s

  broad standards, and specific ICE-approved policies and procedures. VWP aims to

  offer constructive work opportunities that contribute to the orderly operation of the

  Facility, improve essential operations and services, and reduce idleness and

  disciplinary-code violations. P&P § 8.1.8(B); see PBNDS § 5.8. Participation in

  the VWP is voluntary. PBNDS § 5.8

        The $1 daily allowance for VWP work is not an hourly wage and has never

  been negotiated with detainees. ICE states that “[d]etainees shall receive monetary

  compensation for work completed in accordance with the facility’s standard policy.

  The compensation is at least $1.00 (USD) per day.” Id. Thus, a facility may

  lawfully provide an allowance of $1.00 per day under ICE policy. GEO’s standard


                                            6
 Case No. 1:14-cv-02887-JLK-CYC      Document 58-1 filed 03/14/17 USDC Colorado
                                      pg 14 of 34
Appellate Case: 17-701    Document: 01019778492 Date Filed: 03/13/2017 Page: 14



  policy for the Facility provides this allowance. P&P § 8.1.8(J). GEO pays

  detainees directly on a daily basis and is reimbursed by ICE. The daily allowance

  follows the Facility contract’s reimbursement rate, which cannot be raised without

  federal authorization. Aurora Facility Contract, Dkt. 11-2, at 3.

        D.     The Plaintiffs’ Claims And The District Court’s Rulings.

        The Plaintiffs brought three claims: (1) a claim that GEO violated

  Colorado’s Minimum Wage Order (“CMWO Claim”); (2) the Trafficking Claim;

  and (3) the Unjust Enrichment Claim. GEO moved to dismiss all three. The

  district court dismissed the CMWO Claim, but declined to dismiss the other two.

  Memorandum Opinion & Order, Dkt. 23. The district court also denied both

  GEO’s motion for reconsideration, Order on Motion for Reconsideration, Dkt. 33,

  and its motion for an order granting an interlocutory appeal of the dismissal order,

  Order on Motion for Interlocutory Appeal, Dkt. 48.

        After limited discovery, Plaintiffs moved for class certification of the

  Trafficking Claim, proposing a class of “[a]ll persons detained in [GEO’s] Aurora

  Detention [Center] in the ten years prior to the filing of this action.” Plaintiffs’

  Motion for Class Certification, Dkt. 49, at 10 (“Mot.”). Plaintiffs also proposed a

  class of “[a]ll people who performed work [at] [GEO’s] Aurora Detention [Center]

  under [GEO’s] VWP policy in the three years prior to the filing of this action” for

  the Unjust Enrichment Claim. Id. at 19. On February 27, 2017, the district court


                                             7
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 15 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 15



  certified Plaintiffs’ proposed classes, naming Plaintiffs as class representatives,

  Plaintiffs’ counsel as class counsel. Order 21.

                              STANDARD OF REVIEW

        This Court has “unfettered” discretion to grant permission to appeal a class

  certification order on an interlocutory basis for “any consideration [the Court]

  find[s] persuasive” and has rejected a “rigid test” restricting Rule 23(f) review.

  Vallario, 554 F.3d at 1262-63 (quoting Fed. R. Civ. P. 23(f) Advisory Committee

  note). A Rule 23(f) appeal “may be appropriate when the class certification order

  implicates unresolved legal issues and may facilitate development of the law.”

  Downes v. Rivera, No. 15-705, 2015 WL 9022001, at *1 (10th Cir. Dec. 8, 2015).

  Review is also appropriate when a class certification order is manifestly erroneous,

  such as when it contains “significant and readily ascertainable” deficiencies.

  Vallario, 554 F.3d at 1263-64.

                 WHY IMMEDIATE REVIEW IS APPROPRIATE

  I.    The District Court Provided No “Rigorous Analysis” Of Whether
        Plaintiffs’ Novel And Indeterminate Claims Pass Rule 23’s Strict
        Standards.

        A party seeking class certification must “affirmatively demonstrate”

  compliance with Rule 23. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350

  (2011). That party bears “a strict burden of proof” to show Rule 23’s requirements

  “are clearly met.” Trevizo v. Adams, 455 F.3d 1155, 1162 (10th Cir. 2006). A


                                             8
 Case No. 1:14-cv-02887-JLK-CYC      Document 58-1 filed 03/14/17 USDC Colorado
                                      pg 16 of 34
Appellate Case: 17-701    Document: 01019778492 Date Filed: 03/13/2017 Page: 16



  district court must conduct a “rigorous analysis” of whether Rule 23 is satisfied.

  Vallario, 554 F.3d at 1267. A district court errs by “‘relaxing and shifting Rule

  23(a)’s strict burden of proof’ to the party opposing certification, ‘liberally

  construing’ the class certification requirements, or resolving doubts ‘in favor of

  certification.’” Friedman v. Dollar Thrifty Auto. Grp., Inc., 304 F.R.D. 601, 605

  (D. Colo. 2015) (quoting Wallace B. Roderick Revocable Living Tr. v. XTO

  Energy, Inc., 725 F.3d 1213, 1218 (10th Cir. 2013)). “Actual, not presumed,

  conformance” with Rule 23 is “indispensable.” CGC Holding Co., LLC v. Broad &

  Cassel, 773 F.3d 1076, 1086 (10th Cir. 2014).

        Finally—and crucially—“it is impractical to construct ‘an impermeable

  wall’ that will prevent the merits from bleeding into the class certification decision

  to some degree.” CGC Holding, 773 F.3d at 1087 (quoting Shook v. Bd. of Cty.

  Comm’rs, 543 F.3d 597, 612 (10th Cir. 2008)).

        Here, the novel and indeterminate nature of the Plaintiffs’ claims creates an

  insurmountable barrier to class certification. See Gene & Gene LLC v. BioPay

  LLC, 541 F.3d 318, 326 (5th Cir. 2008) (trial court must consider “how a trial on

  the merits would be conducted if a class were certified”). The Trafficking Act was

  not remotely designed for claims against a private contractor implementing a

  housekeeping policy in a federal detention facility. Separately, an unjust

  enrichment theory assumes that parties exhibit intentions to bilaterally form

                                             9
 Case No. 1:14-cv-02887-JLK-CYC        Document 58-1 filed 03/14/17 USDC Colorado
                                        pg 17 of 34
Appellate Case: 17-701      Document: 01019778492 Date Filed: 03/13/2017 Page: 17



  reasonable expectations about a contract or other agreement. This application is

  wholly inapposite given voluntary participation in a program where the daily

  allowance has long been established by federal policy and independent contracts.

  The district court manifestly erred by ignoring the problems caused by all of this

  conjecture, an error exacerbated by its denial of an interlocutory appeal on the

  merits. And in attempting to make the claims work in the class action context, the

  district court improperly made presumptions and liberal inferences in favor of class

  certification.

         A.        The Trafficking Claim Is Unfit For Class Treatment.

         The district court manifestly erred by ignoring the purpose and text of the

  Trafficking Act and by failing to rigorously scrutinize multiple elements of the

  Plaintiffs’ certification showing.

         Courts interpret statutes by “constru[ing] the language so as to give effect to

  the intent of Congress.” United States v. Am. Trucking Ass’ns, Inc., 310 U.S. 534,

  542 (1940). Statutory language should be interpreted “not only by reference to the

  language itself, but as well by the specific context in which that language is used,

  and the broader context of the statute as a whole.” Yates v. United States, 135 S.

  Ct. 1074, 1081-82 (2015) (plurality opinion) (holding that the term “tangible

  object[s]” did not include fish, since the context of the statute showed it was

  intended to address banking misconduct). Although the Plaintiffs argue that the


                                            10
 Case No. 1:14-cv-02887-JLK-CYC      Document 58-1 filed 03/14/17 USDC Colorado
                                      pg 18 of 34
Appellate Case: 17-701    Document: 01019778492 Date Filed: 03/13/2017 Page: 18



  plain language of the Trafficking Act applies to GEO’s conduct, that conduct is

  clearly outside the scope of the provision when viewed in context. See id. at 1088-

  89 (plurality opinion); id. at 1090 (Alito, J., concurring). See also Holy Trinity

  Church v. United States, 143 U.S. 457, 458-65 (1892).1

        Congress did not intend the TVPA to apply to cases like this one. Congress

  enacted the TVPA “to combat trafficking in persons, a contemporary manifestation

  of slavery whose victims are predominantly women and children, to ensure just

  and effective punishment of traffickers, and to protect their victims.” 22 U.S.C. §

  7101(a). Congress based the Trafficking Act on “a substantial amount of evidence

  on the traffic in the sexual services of women based on importing women from

  around the world by force or fraud.” United States v. Todd, 627 F.3d 329, 333 (9th

  Cir. 2010). None of Congress’s twenty-four separate findings indicates that

  Congress intended the TVPA to apply to detainees lawfully held in United States

  custody at a private detention facility.

        Plaintiffs’ allegations categorically differ from the type of conduct the

  TVPA was intended to proscribe. To “traffic” means “to trade or deal in.” Traffic,

  BLACK’S LAW DICTIONARY (8th ed. 2004). GEO did not, and does not, “trade or


  1 See United States v. Black, 773 F.3d 1113, 1115-16 (10th Cir. 2014) (interpreting
  criminal statute to avoid “strange results” in the application of the statute); In re
  Busetta-Silvia, 314 B.R. 218, 223 n.25 (B.A.P. 10th Cir. 2004) (recognizing Holy
  Trinity’s doctrine).

                                             11
 Case No. 1:14-cv-02887-JLK-CYC       Document 58-1 filed 03/14/17 USDC Colorado
                                       pg 19 of 34
Appellate Case: 17-701     Document: 01019778492 Date Filed: 03/13/2017 Page: 19



  deal in” the Plaintiffs or anyone else. And housekeeping chores expected of

  detainees, under ICE-approved policies, do not involve GEO in “trafficking”

  persons for forced labor. Detainees, including Plaintiffs, are at the Facility in the

  custody of ICE, which exercises exclusive authority to detain them. Nobody

  trafficked them there.

        Further, the Sanitation Policy requires detainees to do chores, not to engage

  in “forced labor.” A policy that requires detainees to help clean has long been

  upheld in decisions that preceded the TVPA’s enactment in 2000, further

  reinforcing Congress’ lack of intent that it prevent such activity.2 See Channer v.

  Hall, 112 F.3d 214, 219 (5th Cir. 1997) (holding that “the federal government is

  entitled to require a communal contribution by an INS detainee in the form of

  housekeeping tasks”).3




  2 Goodyear Atomic Corp. v. Miller, 486 U.S. 174, 184-85 (1988) (“We generally
  presume that Congress is knowledgeable about existing law pertinent to the
  legislation it enacts.”).
  3 See also Tourscher v. McCullough, 184 F.3d 236, 243-44 (3d Cir. 1999) (pretrial
  detainee not entitled to minimum wage because standard of living is guaranteed
  and work “bears no indicia of traditional free-market employment”); Hause v.
  Vaught, 993 F.2d 1079, 1081, 1085 (4th Cir. 1993) (pretrial detainees may be
  required to “assist in cleaning the common areas of their cell-block”); Bijeol v.
  Nelson, 579 F.2d 423, 424–25 (7th Cir. 1978) (pretrial detainee “may
  constitutionally be compelled to perform simple housekeeping tasks in his or her
  own cell and community areas”).

                                            12
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 20 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 20



        Allowing Plaintiffs to use a human trafficking statute to seek monetary relief

  over cleaning duties renders the TVPA absurd and makes certification of a class

  based on it impossible. The TVPA does not apply to the alleged conduct, and the

  Trafficking Claim is inappropriate for class treatment on this basis alone.

         Nonetheless, the district court’s denial of the motion to dismiss—and of an

  interlocutory appeal of that ruling—required GEO to oppose class certification

  with the assumption that the TVPA somehow applied, and the district court made

  many presumptions and liberal inferences as to how the claims would apply.

  According to the district court, Plaintiffs’ “circumstances are uniquely suited for a

  class action” because “[a]ll share the experience of having been detained in the

  Facility and subjected to uniform policies that purposefully eliminate

  nonconformity.” Order 2. Under this view, the court found Rule 23(a)

  commonality because the “uniformly applicable Sanitation Policy . . . is the glue

  that holds the allegations of the [Plaintiffs] and putative class members together,

  creating a number of crucial questions with common answers.” Order 8.

        As GEO argued, however, the Trafficking Act requires that a defendant

  knowingly obtain labor “by means of” various coercive actions, such as threats. 18

  U.S.C. § 1589(a). The case law establishes (and the district court agreed), that

  when the TVPA does apply in other contexts, it contains an inescapably subjective




                                           13
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 21 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 21



  element. See David v. Signal Int’l, LLC, No. 08-cv-1220, 2012 WL 10759668, at

  *16-22 (E.D. La. Jan. 4, 2012).

        This subjective element pervades the proposed class with individualized

  determinations necessary to determine when alleged TVPA violations have

  occurred. One of the three “common” questions identified by the district court

  was: “Does GEO knowingly obtain detainees’ labor using that [Sanitation]

  Policy?” Order 8. Indeed, Plaintiffs’ Trafficking Claims explicitly “turn on”

  whether GEO “obtained Plaintiffs’ labor ‘by . . . means of’ the threat of solitary

  confinement.” Mot. at 15. But to prove that this “threat” was the “means” by

  which a detainee’s labor was obtained, Plaintiffs would need to establish that this

  sanction alone was the subjective reason each individual detainee performed labor

  in every instance. Detainees—like all persons—have their own motivations. They

  may like to have a sanitary environment. They may respect and willingly obey the

  Sanitation Policy. Or they may just wish to stay busy. Damages and restitution

  cannot be awarded to detainees who performed chores for a reason other than the

  threat of disciplinary segregation. But the certified class undoubtedly includes at

  least some such parties.4



  4 Even if 1% of supposed 50,000-60,000 class members held other reasons for
  performing household chores, 500 or more of the class members would get
  improper relief under the TVPA.

                                           14
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 22 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 22



        Further, this commonality analysis lacked rigor. Plaintiffs provided no

  evidence foreclosing the possibility that detainees performed housekeeping chores

  for some reason other than the threat of disciplinary segregation; the district court

  simply presumed this was true. Order 2, 8. The district court noted that members

  are not required to share an “identical” fact situation, Order 9, but here causation is

  dispositive as to class membership: if a detainee was not coerced to work “by

  means of” some action prohibited by Section 1589, then that detainee suffered no

  Trafficking Act violation.

        With respect to typicality, the district court found it “irrelevant” that none of

  the Plaintiffs was actually disciplined for violating the Sanitation Policy, and that

  none were at the Facility prior to 2011 (although the Plaintiffs seek class relief

  back to 2004). Id. Again, the district court presumed or liberally inferred the

  factual predicates that the Plaintiffs were required to prove, finding typicality

  because “[t]he nature of detention is unique in that it allows the detainer to almost

  fully control the experience of the detainee,” making the Plaintiffs’ experience

  typical of all class members. Id. The court has simply presumed that the policy

  somehow gives GEO full control over the subjective motives of all detainees. The

  district court cites no support for this overbroad statement, which would also imply

  that a contractor could coerce not just labor, but virtually anything.




                                            15
 Case No. 1:14-cv-02887-JLK-CYC      Document 58-1 filed 03/14/17 USDC Colorado
                                      pg 23 of 34
Appellate Case: 17-701    Document: 01019778492 Date Filed: 03/13/2017 Page: 23



        The district court did the same with the “far more demanding” Rule 23(b)(3)

  predominance requirement. Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623-

  24 (1997). The district court agreed that the Trafficking Act contains a subjective

  component, requiring the plaintiff to show “whether the victims actually labored

  because of the perpetrator’s conduct.” Order 12-13 (emphasis original). But it

  found the subjective component did not foreclose class certification by drawing

  robust inferences in favor of class certification:

        Representatives argue, as an alternative to eliminating the subjective
        component of the statu[t]e, that the ‘by means of’ element can be
        satisfied by inferring from classwide proof that the putative class
        members labored because of GEO’s improper means of coercion.
        Representatives are correct that there is nothing preventing such an
        inference. I have not found and GEO has not provided any authority
        requiring that, for TVPA claims, causation must be proven by direct
        and not circumstantial evidence.

  Order 13 (emphasis added). The court further added that “[g]iven the climate in

  which they were detained, it is possible that an inference of causation would be

  appropriate even despite some class members’ purported willingness to work for

  reasons other than GEO’s improper means of coercion.” Id. (emphasis added).

        This is not the rigorous analysis required by Rule 23. Rather than

  demanding proof that the “proposed classes are sufficiently cohesive to warrant

  adjudication by representation,” Amchem, 521 U.S. at 623, the district court

  posited an unsupported social-psychological profile of the “climate” of detention,

  which made it “possible” to create an “inference of causation” on a circumstantial
                                            16
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 24 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 24



  basis. By this string of inferences, the district court impermissibly evaded the

  insurmountable problem that causation under Section 1589 would be subjective

  and individualized, preventing class certification. See XTO Energy, 725 F.3d at

  1218; CGC Holding, 773 F.3d at 1086.

        B.     The Unjust Enrichment Claim Is Unfit For Class Treatment.

        With respect to the Unjust Enrichment Claim, the district court manifestly

  erred by assuming that all putative class members shared the same expectations

  and by shifting the burden to GEO to prove the opposite.

        Under Colorado law, unjust enrichment requires a plaintiff to establish that

  (1) the defendant received a benefit, (2) at the plaintiff’s expense, (3) under

  circumstances that would make it unjust for the defendant to retain the benefit

  without commensurate compensation. Lewis v. Lewis, 189 P.3d 1134, 1141 (Colo.

  2008). Whether retention of the benefit is unjust involves considering “among

  other things, the intentions, expectations, and behavior of the parties.” Melat,

  Pressman & Higbie, L.L.P. v. Hannon Law Firm, L.L.C., 287 P.3d 842, 847 (Colo.

  2012). Specifically, the compensation must be reasonably expected. Britvar v.

  Schainuck, 791 P.2d 1183, 1185 (Colo. App. 1989) (upholding jury verdict

  denying unjust enrichment claim because “plaintiff had failed to prove that




                                            17
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 25 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 25



  defendant had accepted the benefits of her services under circumstances that would

  warrant a reasonable expectation that compensation should be paid”).5

        The $1 daily allowance for participation in the VWP has been

  Congressionally authorized for decades. From 1950 to 1979, Congress authorized

  “payment of allowances ... to aliens, while held in custody under the immigration

  laws, for work performed.” 8 U.S.C. § 1555(d). The appropriations bills

  authorized reimbursement for the VWP “at a rate not in excess of $1.00 per day.”

  See, e.g., Dep’t of Justice Appropriation Act, 1979, Pub. L. No. 95-431, 92 Stat.

  1021, 1027 (1978).

        Later, Congress opted to authorize general appropriations for the VWP.

  U.S. Dep’t of Justice, Immigration & Naturalization Serv., Opinion Letter (Nov.

  13, 1992) 1992 WL 1369402, at *1. ICE now reimburses contractors for VWP

  allowances, at an amount typically dictated—as it is here—by contract, making the



  5 See also Stanford v. Ronald H. Mayer Real Estate, Inc., 849 P.2d 921, 923 (Colo.
  App. 1993) (a claim for unjust enrichment should be denied where a plaintiff “had
  no sustainable expectation of compensation under the circumstances”); Alioto v.
  Hoiles, No. 04-CV-00438, 2010 WL 3777129, at *15 (D. Colo. Sept. 21, 2010)
  (concluding in the context of legal services that “it is unjust … to retain a benefit
  … in situations where there was a reasonable expectation by both parties that
  compensation to the attorney is appropriate”) aff’d, 531 F. App’x 842 (10th Cir.
  2013); Bayh v. Sonnenburg, 573 N.E.2d 398, 408-09 (Ind. 1991) (detainees not
  entitled to recover in quantum meruit because they had no reasonable expectation
  of payment when hospital officials told them they would not be paid for their
  work).

                                           18
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 26 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 26



  $1.00 per day allowance “a matter of legislative [and agency] discretion.” Guevara

  v. INS, No. 90-1476, 1992 WL 1029, at *2 (Fed. Cir. Jan. 6, 1992).

        The $1.00 daily allowance has withstood legal challenges for decades. See

  Guevara v. INS, 902 F.2d 394, 396 (5th Cir. 1990) (rejecting challenge to $1.00

  per day allowance to immigration detainees as violation of the minimum wage

  provisions of the Fair Labor Standards Act because immigration detainees are

  “removed from American industry,” they are “not within the group that Congress

  sought to protect in enacting the FLSA”); Whyte v. Suffolk Cty. Sheriff’s Dep’t, No.

  15-00444-E (Sup. Ct. Mass. Jan. 8, 2016) (ICE detainee challenging $1 allowance

  not entitled to state minimum wage) (Attachment B). The allowance is not a

  negotiated wage; it is “a valid exercise of the congressional power to regulate the

  conduct of aliens.” U.S. Dep’t of Justice, Immigration & Naturalization Serv.,

  Opinion Letter (Feb. 26, 1992) 1992 WL 1369347, at *1 (concluding that “[a]lien

  detainees who perform work for the [DHS/ICE]. . . are not considered ‘employees’

  for purposes of employer sanctions,” as a detainee performs work for “institution

  maintenance, not compensation”).

        Given this backdrop, no detainee could reasonably expect that his or her

  VWP job would pay a negotiated or minimum wage without offering specific

  grounds showing that GEO would depart from the established allowance in his or

  her case. Indeed, because of the “fact-intensive” nature of unjust enrichment

                                           19
 Case No. 1:14-cv-02887-JLK-CYC        Document 58-1 filed 03/14/17 USDC Colorado
                                        pg 27 of 34
Appellate Case: 17-701      Document: 01019778492 Date Filed: 03/13/2017 Page: 27



  claims, Melat, 287 P.3d at 847, “courts generally find that unjust enrichment

  claims are not appropriately certified for class treatment, as common questions will

  rarely, if ever, predominate.” Friedman, 304 F.R.D. at 611 (citation omitted). The

  same holds true here.

        The district court committed manifest error by certifying a class without

  requiring Plaintiffs to establish their reasonable expectation of payment beyond the

  daily allowance. Indeed, the district court did not address the requirement at all.

  Instead, it reverted to the Order’s flawed central theme: that “detainment presents

  distinctive conditions,” and Plaintiffs and class members working in the VWP “in

  an environment GEO controlled,” made the Plaintiffs’ experience typical and the

  class questions common. Order 17. The court concluded that “[i]t is not necessary

  to analyze the intentions, expectations, and behavior of each individual class

  member; it is enough to consider the overall context based on classwide proof.”

  Order 18. But as the foregoing authorities show, the “overall context” leads the

  conclusion that the $1 daily allowance is not a basis for unjust enrichment. The

  court erred by shifting the burden to GEO to explain why it would be “equitable”

  to “retain a benefit from some class members, but not others.” Id.; XTO Energy,

  Inc., 725 F.3d at 1218.




                                           20
 Case No. 1:14-cv-02887-JLK-CYC      Document 58-1 filed 03/14/17 USDC Colorado
                                      pg 28 of 34
Appellate Case: 17-701    Document: 01019778492 Date Filed: 03/13/2017 Page: 28



        C.     There Is No Damages Model.

        A court must engage in a rigorous analysis to ensure evidentiary proof of

  damages at the class certification stage, including a method to determine possible

  damages on a classwide basis. Comcast Corp. v. Behrend, 133 S. Ct. 1426, 1432-

  33 (2013). The district court provided no rigorous analysis of damages or

  restitution for either claim.

        In proper TVPA cases, courts look to “all relevant circumstances ...,

  including sex, age, condition in life and any other fact indicating susceptibility of

  the injured person to [the] type of harm.” Mazengo v. Mzengi, No. 07–756, 2007

  WL 8026882, at *7 (D.D.C. Dec. 20, 2007); see, e.g., Lagasan v. Al-Ghasel, 92 F.

  Supp. 3d 445, 457-58 (E.D. Va. 2015) (awarding $400 per day for severe

  emotional distress to worker trafficked into the U.S. and forced to work excessive

  hours in terrible conditions).

        Plaintiffs, however, have never explained which damages would factor into

  their Trafficking Claim, and whether those damages support commonality or

  typicality. To the extent they may seek to analogize damages or restitution to a

  wage claim, Plaintiffs provide no basis for valuing the household chores. The

  district court merely concluded that “considering the numerous questions common

  to the class, I find that the possible need for specific damages determinations does




                                            21
 Case No. 1:14-cv-02887-JLK-CYC      Document 58-1 filed 03/14/17 USDC Colorado
                                      pg 29 of 34
Appellate Case: 17-701    Document: 01019778492 Date Filed: 03/13/2017 Page: 29



  not predominate.” Order 14. The court manifestly erred by failing to make

  findings as to a classwide damages model.

        The district court’s analysis of the Unjust Enrichment Claim also lacked

  rigor. It acknowledged that “VWP participants worked varying hours and did not

  all perform the same type of work” and that any award “would need to account for

  those individual factors.” Order 19. Given the history of the daily allowance,

  however, no detainee had any reasonable expectation of receiving an hourly wage

  for VWP work. Nonetheless, the district court took the Plaintiffs at their word that

  “individual damages in this case should easily be calculable using a simple

  formula.” Id. If so, Plaintiffs should have been required to provide a damages

  model.

  II.   GEO’s Status As A Federal Contractor Strongly Favors Immediate
        Review.

           The Court is receptive to granting permission to appeal under Rule 23(f) in

  “death knell” cases, in which “a questionable class certification order is likely to

  force either a plaintiff or a defendant to resolve the case based on considerations

  independent of the merits,” such as by settlement. Vallario, 554 F.3d at 1263.

  This scenario is more intolerable. GEO is the sole defendant here. But its

  financial and legal position is dictated by its contracts with the federal government.

  These contracts were drafted on the assumption that the sanitation policy and daily

  VWP allowance would continue to be effective—a reasonable assumption given
                                            22
 Case No. 1:14-cv-02887-JLK-CYC      Document 58-1 filed 03/14/17 USDC Colorado
                                      pg 30 of 34
Appellate Case: 17-701    Document: 01019778492 Date Filed: 03/13/2017 Page: 30



  that both policies have withstood legal scrutiny for decades. But the district

  court’s novel certification of a class comprising all people detained at the Facility

  over the past ten years poses a potentially catastrophic risk to GEO’s ability to

  honor its contracts with the federal government.6 And the skeleton of this suit

  could potentially be refiled against privately operated facilities across the United

  States, causing GEO and other contractors to defend them even though GEO firmly

  believes that policies give the Plaintiffs no legal claim. GEO’s status as a

  government contractor puts it in the position of having to answer for what are

  essentially grievances against Congressional and DHS/ICE policies, and to face

  substantial claims for monetary relief that it will be unlikely able to settle.

                                 RELIEF REQUESTED

        The Court should grant GEO’s petition, reverse the certification order, and

  grant all other relief to which GEO is entitled.

  Dated: March 13, 2017             Respectfully submitted,

                                    /s/ Mark Emery
                                    Mark Emery
                                    Norton Rose Fulbright US LLP
                                    799 9th Street NW, Suite 1000
                                    Washington, DC 20001
                                    (202) 662-0210
                                    mark.emery@nortonrosefulbright.com


  6 Because the district court did not require, or even describe, a damages model,
  GEO cannot even estimate a ceiling for damages.

                                             23
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 31 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 31



                                 Charles A. Deacon
                                 NORTON ROSE FULBRIGHT US LLP
                                 300 Convent Street
                                 San Antonio, Texas 78205
                                 (210) 270-7133
                                 charlie.deacon@nortonrosefulbright.com

                                 Dana Eismeier
                                 BURNS, FIGA & WILL
                                 6400 S. Fiddlers Green Circle
                                 Suite 1000
                                 Greenwood Village, Colorado 80111
                                 (303) 796-2626
                                 deismeier@bfwlaw.com




                                        24
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 32 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 32



                        CERTIFICATE OF COMPLIANCE
                       WITH WORD VOLUME LIMITATION

        This petition complies with the type-volume limitations of Fed. R. App. P. 5

  because it contains 5,196 words, excluding the parts exempted by Fed. R. App. P.

  32(a)(7)(B)(iii).

        This brief complies with the typeface requirements of Fed. R. App. P.

  32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this

  brief has been prepared in a proportionally spaced typeface using Microsoft Word

  2010 in 14-point Times New Roman typeface.

  Dated: March 13, 2017
                                                      /s/ Mark Emery
                                               Counsel for Defendant-Petitioner

                      CERTIFICATE OF DIGITAL SUBMISSION

        I hereby certify that with respect to the foregoing document:

        a. all required privacy redactions have been made per 10th Cir. R. 25.5;

        b. if required to file additional hard copies, that the ECF submission is an
  exact copy of those documents;

         c. The digital submission has been scanned for viruses with the most recent
  version of a commercial virus scanning program, McAfee antivirus software,
  version 4.8.0.1938, last updated March 13, 2017, and according to the program is
  free of viruses.

  Dated: March 13, 2017
                                                 /s/ Mark Emery
                                            Counsel for Defendant-Petitioner



                                          25
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 33 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 33



                            CERTIFICATE OF SERVICE

        I hereby certify that on March 13, 2017, I sent by overnight mail and by

  email copies of the petition to the appointed class counsel for the Plaintiffs:

        Alexander N. Hood
        Towards Justice-Denver
        1535 High Street, Suite 300
        Denver, CO 80218
        (720) 239-2606
        alex@towardsjustice.org

        Andrew H. Turner
        Kelman Buescher Firm
        600 Grant Street, Suite 450
        Denver, CO 80203
        (303) 333-7751
        aturner@laborlawdenver.com

        Hans C. Meyer
        Meyer Law Office, P.C.
        P.O. Box 40394
        1029 Santa Fe Drive
        Denver, CO 80204
        (303) 831-0817
        hans@themeyerlawoffice.com

        R. Andrew Free
        R. Andrew Free Law Office
        414 Union Street, Suite 900
        Nashville, TN 37209
        (615) 244-2202
        Andrew@lmmigrantCivilRights.com




                                            26
 Case No. 1:14-cv-02887-JLK-CYC     Document 58-1 filed 03/14/17 USDC Colorado
                                     pg 34 of 34
Appellate Case: 17-701   Document: 01019778492 Date Filed: 03/13/2017 Page: 34



        Brandt P. Milstein
        Milstein Law Office
        595 Canyon Boulevard
        Boulder, CO 80302
        (303) 440-8780
        brandt@milsteinlawoffice.com

  Dated: March 13, 2017

                                                /s/ Mark Emery
                                         Counsel for Defendant-Petitioner




                                        27
